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                             IN THE UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                   FORT LAUDERDALE DIVISION

                               CASE NO. 12-60460-CIV-ZLOCH/HUNT

   A.R., by and through her next friend,
   Susan Root, et. al.,

          Plaintiffs,

   v.

   ELIZABETH DUDEK, in her official
   Capacity as Secretary of the Agency for
   Health Care Administration, et. al.,

         Defendants.
   __________________________________/

   PLAINTIFFS’ NOTICE OF NEW AUTHORITY REGARDING OBJECTIONS TO THE
      REPORT AND RECOMMENDATION ON PLAINTIFFS’ SECOND RENEWED
                    MOTION FOR CLASS CERTIFICATION


          COMES NOW, Plaintiffs, A.R., by and through her next friend, Susan Root, et al., by and

   through their undersigned counsel and file the following case as new authority for their opposition

   to Plaintiff’s objection (D.E. 397):

          Holmes v. Godinez, Case No.: 1:11-cv-02961; 2015 U.S. Dist. LEXIS 137388 (N.D. Ill.

   Oct. 8, 2015), attached as Exhibit “A”. The Court in Holmes, an ADA Title II case, did an in depth

   analysis of acertainability in class definition on pages 94 to 105 regarding a panoply of disability

   related services to persons with a wide range of hearing loss, and narrowed the class definition;

   and this Court also analyzed commonality within the context of Wal-Mart Stores, Inc. v. Dukes,

   131 S.Ct. 2541 (2011) on pages 106 to 116, and found that system-wide policies serve as the “glue”

   to tie claims together.




            Disability Independence Group, Inc. * 2990 SW 35th Avenue* Miami, FL 33133
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        Respectfully Submitted on this 29th day of October 2015.

    DISABILITY INDEPENDENCE GROUP                       FSU College of Law Public Interest
    2990 Southwest 35th Avenue                          Law Center
    Miami, Florida 33133                                425 W. Jefferson Street
    T: (305) 669-2822 / F: (305) 442-4181               Tallahassee, FL 32306
    E-Mail: mdietz@justdigit.org                        Phone: (850) 644-9928
    Lead Trial Attorney                                 Fax: (850) 644-0879
    By: s/ Matthew W. Dietz                             Email: Pannino@law.fsu.edu
        Matthew W. Dietz                                Co-counsel
        Fla. Bar No. 84905
                                                        By: s/ Paolo G. Annino
                                                            Paolo G. Annino
                                                            Florida Bar No. 0379166
    The North Florida Center For Equal Justice, Inc.
    2121 Delta Blvd.
    Tallahassee, FL 32303
    Phone: (850) 701-3980
    Fax: (850) 701-3985
    Co-counsel

    By: s/ Edward J. Grunewald
       Edward J. Grunewald
       Fla. Bar No. 612472
       egrunewald@nfcfej.org




          Disability Independence Group, Inc. * 2990 SW 35th Avenue* Miami, FL 33133
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                                  CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of the foregoing was served upon the
   following on October 29th, 2015.

                                            BY: s/ Matthew W. Dietz


    Andrew T. Sheeran                            George N. Meros, Jr.
    Stuart F. Williams                           GrayRobinson, P.A.
    Leslei G. Street                             Post Office Box 11189
    Agency for Health Care Administration        Tallahassee, Florida 32302-3189
    2727 Mahan Drive, Building MS #3             Telephone: 850-577-9090
    Tallahassee, Florida 32308                   Facsimile: 850-577-3311
    Telephone: 850-412-3630                      george.meros@gray-robinson.com
    Facsimile: 850-921-0158
    andrew.sheeran@ahca.myflorida.com            Travis W. England
    stuart.williams@ahca.myflorida.com           Beth A. Esposito
    Leslei.Street@ahca.myflorida.com             H. Justin Park
    Attorneys for Defendant                      Joy Levin Welan
    Agency for Health Care Administration        Disability Rights Section
                                                 Civil Rights Division
    Jennifer Ann Tschetter                       U.S. Department of Justice
    Caryl Kilinski                               950 Pennsylvania Avenue, N.W. - NYA
    Florida Department of Health                 Washington, D.C. 20530
    4052 Bald Cypress Way Bin A-02               Telephone: 202-307-0663
    Tallahassee, Florida 32399                   Facsimile: 202-307-1197
    Telephone: 850-245-4398                      travis.england@usdoj.gov
    Facsimile: 850-413-8743
    Jennifer_Tschetter@doh.state.fl.us           Veronica Harrell-James
    caryl_kilinski@doh.state.fl.us               Assistant United States Attorney
    Attorneys for Defendant                      99 N.E. 4th Street
    Florida Department of Health                 Miami, Florida 33132
                                                 Telephone: 305-961-9327
                                                 Facsimile: 305-530-7139
                                                 veronica.harrell-james@usdoj.gov
                                                 Attorneys for Plaintiff
                                                 United States of America


           Disability Independence Group, Inc. * 2990 SW 35th Avenue* Miami, FL 33133
